              Case 2:08-cr-00145-KJM Document 117 Filed 03/15/11 Page 1 of 3




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 3
     Attorney for Defendant
 4   KHALILAH LATOYA FULLER
 5
                            UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA
 9
                                                      )   Case No.: 2:08-cr-00145 KJM
                    Plaintiff,                        )
10
                                                      )   STIPULATION AND ORDER
            vs.                                       )
11                                                        VACATING SENTENCING HEARING,
                                                      )
     KHALILAH LATOYA FULLER                           )   SETTING STATUS CONFERENCE RE
12
                                                      )   SENTENCING ISSUES AND REQUIRING
                    Defendants.                       )
13                                                        PERSONAL PRESENCE OF DEFENDANT
                                                      )
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16
                    It is hereby stipulated and agreed to between the United States of America
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     through Russell Carlberg, Assistant United States Attorney and defendant Khalilah Fuller,
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19   through her counsel, Lindsay Anne Weston, that the sentencing hearing in this matter currently
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     scheduled for March 17, 2011, at 10:00 a.m. be vacated and that the matter be set for a status
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     conference on March 31, 2011, at 10:00 a.m. It is further stipulated and agreed that the
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23   GHIHQGDQW¶VSUHVHQFHLVQHFHVVDU\DWWKHKHDULQJDQGWKDWWKLV&RXUWorder Ms. Fuller to

24   personally appear.
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            The parties agree that a status conference is necessary to address certain issues with the
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     Court as it pertains to the completion of a pre-sentence report and the setting of a calendar for
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28   disclosure of the PSR, objections thereto, and sentencing hearing. Ms. Fuller has been released




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              Case 2:08-cr-00145-KJM Document 117 Filed 03/15/11 Page 2 of 3




     on an unsecured appearance bond since March 31, 2008, and has resided in Vallejo since then.
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 2   The defendant pleaded guilty before Judge Frank Damrell on July 26, 2010, to the indictment
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     and the court set a schedule for disclosure of the PSR and a sentencing date. The briefing
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     schedule and sentencing hearing was continued by the parties once by stipulation to February 28,
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 6   2011, and again by the Court when the case was reassigned from Judge Damrell to this Court.

 7   Ms. Fuller has numerous disabilities, including that she is blind, which have contributed to
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     logistical and transportation issues such that they have hampered the preparation of the pre-
 9
     sentence report. The parties wish to address this with the Court such that a firm briefing
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11   schedule and sentencing date can be set0V)XOOHU¶VSUHVHQFHDWWKHVWDWXVFRQIHUHQFHLV
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     necessary to accomplish this.
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15   Dated: March 11, 2011                         Respectfully submitted,

16                                                 /s/Lindsay Weston
17
                                                   _________________________________
                                                   LINDSAY ANNE WESTON
18                                                 Attorney for Defendant
                                                   KHALILAH FULLER
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21
     Date: March 11, 2011                          BENJAMIN WAGNER
22                                                 United States Attorney
23
                                                   /s/ Lindsay Weston for
24                                                 _______________________________
                                                   RUSSELL CARLBERG
25                                                 Assistant United States Attorney
26                                                 Per e-mail authorization

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              Case 2:08-cr-00145-KJM Document 117 Filed 03/15/11 Page 3 of 3




                                                ORDER
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 2
            IT IS ORDERED that the sentencing hearing as to Khalilah Latoya Fuller set for March
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 4   16, 2011 at 10:00 a.m. in this matter is VACATED and a Status Conference re: sentencing is
 5   SET for March 31, 2011, at 10:00 a.m. The defendant, Khalilah Latoya Fuller shall be
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     personally present at the hearing.
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 8
     Dated: March 15, 2011.
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10                                                  UNITED STATES DISTRICT JUDGE

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